                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2022-NCCOA-93

                                        No. COA21-292

                                    Filed 15 February 2022

     I.C. No. 18-739436

     DENNIS D. MAHONE, JR., Employee, Plaintiff,

                  v.

     HOME FIX CUSTOM REMODELING, Employer, SELECTIVE INSURANCE,
     Carrier, Defendants.


           Appeals by plaintiff and defendants from Opinion and Award entered

     26 January 2021 by the North Carolina Industrial Commission. Heard in the Court

     of Appeals 11 January 2022.


           Lennon, Camak &amp; Bertics, PLLC, by S. Neal Camak and Michael W. Bertics,
           for plaintiff.

           Cranfill Sumner LLP, by Steven A. Bader and Jerri Simmons, for defendants.


           ARROWOOD, Judge.


¶1         Dennis D. Mahone, Jr., (“plaintiff”) and Home Fix Custom Remodeling (“Home

     Fix”) appeal from separate portions of the same order of the North Carolina Industrial

     Commission (“Commission”).        Plaintiff contends the Commission applied the

     incorrect legal standard in determining whether plaintiff’s traumatic brain injury

     (“TBI”) was compensable. Home Fix and its insurance carrier, Selective Insurance

     (collectively, “defendants”) contend the Commission erred in allowing plaintiff to seek
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     a new hearing on his claim for retroactive attendant care benefits, and abused its

     discretion by entering discovery sanctions. For the following reasons, we affirm in

     part, reverse in part, and remand for further proceedings.

                                        I.      Background

¶2         Home Fix is a home remodeling company that employs “Territory Sales

     Representatives” to canvas neighborhoods and engage with customers. Plaintiff was

     hired by Home Fix as a Territory Sales Representative on 6 July 2018.                  On

     24 July 2018, during his second sales call, plaintiff climbed into the attic of a potential

     customer to take measurements for an insulation estimate and the floor beneath him

     collapsed. Plaintiff fell at least twenty feet and landed in the staircase area of the

     lower level of the home.      EMS responded and found plaintiff unconscious and

     “slumped over a broken wooden [banister].” Plaintiff regained consciousness en route

     to the hospital.

¶3         When plaintiff arrived at the hospital, he complained of pain throughout his

     entire back, as well as numbness and tingling in his extremities. Dr. Matthew

     Alleman (“Dr. Alleman”) observed that plaintiff had weakness in his extremities

     during the initial examination. An MRI indicated that plaintiff suffered significant

     injuries to his cervical and thoracic spine, including laminar fractures of vertebrae at

     C4, C5, C6, C7, T1, T2, T3, and T5, interspinous ligamentous tearing from C2 to T4,

     and “severe stenosis at C4-5, C5-6, and C6-7 as well as edema within the spinal cord
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     from C5-C7.” Plaintiff also had two posterior rib fractures on his left side. A CT scan

     of plaintiff’s head taken at the same time indicated “[n]o evidence of intracranial

     hemorrhage, mass effect or acute cortical stroke[,]” and a “[s]oft tissue hematoma

     overlying the superior left parietal bone.”

¶4           After the initial examination and imaging, Dr. Conor Regan (“Dr. Regan”)

     performed surgery on plaintiff. The surgery “included treatment of the C4 fracture,

     treatment and reduction of the C5 and C6 laminar fractures, treatment and reduction

     of the T2-T3 ligamentous injury, fusion of the vertebrae from C3 to T3, application of

     instrumentation from C3 to T3, laminectomies at C4, C5, C6 and C7,” and an iliac

     crest   bone   graft.      Dr.   Regan   conducted        a   follow-up   appointment   on

     11 September 2018, where plaintiff reported “stiffness in his neck but no pain

     radiating into his arms.” Dr. Regan recommended that plaintiff begin outpatient

     physical therapy.

¶5           Following surgery, Dr. Scott Moore (“Dr. Moore”) conducted a cognitive

     screening and mental assessment on 27 July 2018 to evaluate plaintiff for a possible

     TBI. Dr. Moore noted that plaintiff had difficulty with “mental flexibility and verbal

     memory” and displayed “reduced processing speed/delayed response time in addition

     to variable attention at times[,]” as well as a depressed affect.          Dr. Moore also

     observed that plaintiff reported high levels of pain during the evaluation, which may

     have “negatively impacted current cognitive abilities to an unclear extent.” Dr. Moore
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     provided plaintiff with “[b]rief verbal and written information regarding mild TBI,”

     but concluded that additional acute, inpatient neuropsychological services did “not

     appear warranted at [that] time.”

¶6         Plaintiff was admitted to WakeMed Rehabilitation on 13 August 2018, where

     he underwent inpatient rehabilitation until his discharge on 31 August 2018. On

     15 August 2018, Dr. Rochelle Lynn O’Neil (“Dr. O’Neil”) performed a neurobehavioral

     assessment of plaintiff, observing that plaintiff had “reduced working memory

     abilities[,]” but otherwise “the majority of other cognitive abilities . . . were within

     normal limits.” Dr. O’Neil noted that plaintiff “demonstrated improvements within

     language abilities, processing speed, and aspects of memory” since the 27 July 2018

     screening.

¶7         On 30 July 2018, plaintiff completed and filed a Form 18 providing notice of

     the accident.        Defendants denied plaintiff’s claim, alleging there was no

     employee/employer relationship. On 8 August 2018, plaintiff filed a Form 33 request

     for an expedited hearing. On 13 September 2018, Defendants filed a Form 33R in

     response,    again    denying   compensability.       On   24 September 2018,   Deputy

     Commissioner Ashley M. Moore (“Deputy Commissioner Moore”) entered an order

     requiring defendants to fully respond to plaintiff’s discovery requests.

¶8         The case was heard before Deputy Commissioner Moore on 1 October 2018.

     The issues presented included whether plaintiff was permanently and totally
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       disabled, to what attendant care compensation plaintiff was entitled, plaintiff’s

       average weekly wage and compensation rate, whether defendants should be subject

       to a statutory penalty, and whether defendants should be assessed sanctions or

       attorney’s fees. At the hearing, plaintiff testified from a wheelchair and needed to

       take multiple breaks during the hearing due to pain. Plaintiff testified that “he had

       trouble using the restroom, feeding himself, and administering his medication, and

       he had to rely upon his wife to assist him with those activities.” Although plaintiff

       provided testimony regarding the assistance his wife provided, his wife did not testify

       at the hearing and was not deposed.

¶9           Following the hearing and subsequent mediation, defendants filed a Form 60

       on 14 November 2018, admitting that plaintiff was an employee who had suffered a

       compensable accident, specifically admitting injuries to plaintiff’s “spine, fractures to

       the second and third left-sided ribs, and hematoma on the parietal bone.” Deputy

       Commissioner Moore held the record open for submissions through 30 January 2019.

¶ 10         Dr. Regan was deposed on 17 October 2018. Dr. Regan testified that plaintiff

       demonstrated “diminished sensation in his upper extremities[,]” with “remarkably

       decreased strength in the right upper and nothing in the right lower” extremities and

       “spared strength to some degree in the left upper, and more so in the left lower”

       extremities. These observations were consistent with a central spinal cord injury.

       Dr. Regan explained that plaintiff’s right side was weaker than the left side because
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       of the “laminar fracture squeezing down on the right side of the spinal cord[.]” This

       was compounded by plaintiff’s ligamentous injury where “he basically ripped through

       the ligaments that connect the back of the bones together,” which created floating

       spinal masses that further compressed the spinal cord.        Dr. Regan stated that

       plaintiff had regained some motor function and could use a walker to traverse short

       distances, but also acknowledged that plaintiff was in a wheelchair at a recent

       hearing and that plaintiff could not “walk very far.”

¶ 11         On 2 November 2018, Dr. Lance L. Goetz (“Dr. Goetz”) wrote a letter stating

       that plaintiff was hospitalized and under Dr. Goetz’s care at the Richmond VA Spinal

       Cord Injury and Disorders Service. In the letter, Dr. Goetz indicated that plaintiff

       required, and continued to require, “aid and attendance from a trained

       caregiver . . . for the foreseeable future[,]” including “supervision, assistance with

       ADLs [activities of daily living], transfers, transportation, and ongoing medical care

       and monitoring.” Dr. Goetz also stated in his letter that plaintiff had “incurred a

       traumatic brain injury with loss of consciousness and approximately [two] days of

       post-traumatic amnesia.” Dr. Goetz was not deposed as part of this case.

¶ 12         On 4 June 2019, Deputy Commissioner Moore entered an Opinion and Award.

       Deputy Commissioner Moore found that plaintiff had failed to present evidence “as

       to how many hours per day he requires attendant care[,]” or “of the appropriate

       compensation rate” for plaintiff’s wife as an attendant care provider.        Deputy
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       Commissioner Moore also found that “while it is clear Plaintiff needs attendant care

       due to his compensable injuries,” plaintiff had “presented no competent evidence to

       support such an award.”         Regarding plaintiff’s claims for sanctions, Deputy

       Commissioner Moore found that plaintiff “failed to prove Defendants did not fully

       respond to Plaintiff’s discovery requests” and declined to impose sanctions.

¶ 13           Deputy Commissioner Moore concluded that although plaintiff “is currently

       totally disabled from competitive employment, he is not yet at maximum medical

       improvement and thus it is not yet possible to determine whether Plaintiff meets the

       requirements for permanent and total disability . . . .” Deputy Commissioner Moore

       further concluded that plaintiff had failed to present evidence regarding the number

       of hours of attendant care plaintiff needed in the past and would need in the future,

       or regarding the rate at which plaintiff’s wife should be compensated for attendant

       care.    Regarding compensation, Deputy Commissioner Moore concluded that

       plaintiff’s “average weekly wage [was] $1,692.31 which yields the maximum weekly

       benefit of $992.00” pursuant to N.C. Gen. Stat. § 97-29.              Finally, Deputy

       Commissioner Moore concluded that plaintiff had failed to present evidence that

       defendants did not comply with the 24 September 2018 order and denied plaintiff’s

       request for sanctions.

¶ 14           On 5 June 2019, plaintiff filed a Motion for Reconsideration requesting various

       amendments and clarifications. On 22 July 2019, Deputy Commissioner Moore filed
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       an amended Opinion and Award. Therein, Deputy Commissioner Moore concluded

       that defendants “shall provide medical treatment for Plaintiff’s compensable injuries,

       namely, those listed on the Form 60 filed by Defendants: Plaintiff’s spine, fractures

       to his second and third left-sided ribs, and hematoma on the parietal bone.” Deputy

       Commissioner Moore also ordered that “Defendants shall pay medical expenses

       incurred, or to be incurred, as a result of Plaintiff’s compensable injuries as may

       reasonably be required to effect a cure, provide relief, or lessen the period of

       disability.” The remainder of the amended Opinion and Award was unchanged from

       the original 4 June 2019 Opinion and Award.

¶ 15         Plaintiff filed an appeal to the Full Industrial Commission on 6 August 2019.

       Plaintiff filed a corresponding Form 44 on 24 October 2019.

¶ 16         The Full Commission reviewed the matter on 10 December 2019 and entered

       an Opinion and Award on 26 January 2021.             The Commission made findings

       summarizing the medical evidence presented at the hearing and subsequently

       received in discovery. The Commission found that “[a]lthough the medical records in

       this case indicate that Plaintiff was diagnosed with a mild TBI following the

       24 July 2018 incident, the Full Commission finds Plaintiff presented no expert

       medical opinion evidence causally linking the 24 July 2018 incident with Plaintiff’s

       traumatic brain injury.” The Commission noted that “Dr. Regan was the only medical

       expert deposed in this matter, and he was neither asked for, nor independently
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       offered any opinion as to the causation of Plaintiff’s TBI.”         Additionally, the

       Commission found that, “[w]hile Dr. Goetz wrote a letter to the Commission

       indicating that the TBI was related to the 24 July 2018 incident, he did not offer an

       opinion to a reasonable degree of medical certainty, and was not deposed by the

       parties.”       Accordingly, the Commission found that plaintiff was not entitled to

       ongoing medical compensation for his TBI.

¶ 17           Regarding attendant care benefits, the Commission found that plaintiff

       “requires attendant care to effect a cure, give relief, or lessen the period of his

       disability[,]” but that plaintiff “failed to present evidence as to how many hours per

       day he requires attendant care, or the appropriate compensation rate for [his wife] as

       the attendant care provider.” The Commission found that there was “insufficient

       evidence upon which to base an award for either prospective or retroactive attendant

       care . . . .”    Regarding compensation and plaintiff’s average weekly wage, the

       Commission applied the same method for calculation as in Deputy Commissioner

       Moore’s Opinion, finding that plaintiff’s average weekly wage was $1,692.31, yielding

       a maximum weekly benefit of $992.00.

¶ 18           With respect to plaintiff’s claim for discovery sanctions, the Commission found

       that on 20 August 2018, plaintiff served a series of requests for discovery, including

       forty-eight interrogatories and twenty-one requests for production of documents. On

       21 September 2018, plaintiff filed a Motion to Compel, which Deputy Commissioner
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       Moore granted on 24 September 2018, requiring defendants to “answer and fully

       respond to Plaintiff’s 20 August 2018 discovery requests by 5:00 p.m. on Wednesday,

       26 September 2018.” The Commission found that plaintiff filed a second Motion to

       Compel on 27 September 2018, arguing that defendants “failed to make a full

       response” with respect to several interrogatories and requests for production. The

       Commission noted that plaintiff’s brief drew “attention to Defendants’ failure to

       provide full answers to Interrogatories 8(d) and (e), which request detail regarding

       training courses and ratings or evaluations provided to Plaintiff.”         Specifically,

       “[w]hile Defendants provided Plaintiff with the sales manual introduced as part of

       Stipulated Exhibit 2, they did not produce the audio recordings later introduced as

       Plaintiff’s Exhibit 2, which were largely provided to Plaintiff” during his initial

       training. The Commission found that the recordings, “which last over ten hours,

       contain detailed instructions given by [Home Fix’s branch manager] to [plaintiff] and

       other trainees on sales techniques and procedures, and show Plaintiff was routinely

       given homework and was subject to evaluation during his two-week training course.”

       Based upon a preponderance of the evidence, the Commission found that Home Fix

       “did not fully respond to Plaintiff’s discovery requests and in doing so failed to comply

       with Deputy Commissioner Moore’s 24 September 2018 Order[,]” and that this

       failure “was not based on an inability to comply[.]”

¶ 19         Based on the aforementioned findings of fact, the Commission concluded that
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       plaintiff was “entitled to medical treatment for his compensable injuries, namely,

       those listed on the Form 60 filed by Defendants.” The Commission further concluded

       that based on plaintiff’s evidence, including “his own testimony, his medical records,

       and Dr. Goetz’s letter, . . . he is in need of attendant care, [and] the Full Commission

       concludes attendant care is reasonably necessary to effect a cure, provide relief, or

       lessen the period of Plaintiff’s disability.” Despite concluding that attendant care was

       reasonably necessary, the Commission concluded that it was “unable to award

       compensation for retroactive or prospective attendant care” due to the lack of

       evidence as to the number of hours of attendant care needed and the rate at which

       plaintiff’s wife should be compensated.

¶ 20         In the Award, the Commission denied plaintiff’s claim for permanent and total

       disability benefits and his claim for benefits for his TBI. The Commission ordered

       defendants to “pay ongoing temporary total disability benefits to Plaintiff at a rate of

       $992.00 per week beginning 24 July 2018 and continuing until further order of the

       Commission, less any amounts already paid by Defendants.” The Commission also

       ordered defendants to “pay medical expenses incurred, or to be incurred, as a result

       of Plaintiff’s compensable injuries as may reasonably be required to effect a cure,

       provide relief, or lessen the period of disability.” Plaintiff’s claim for attendant care

       benefits was denied, with the Award providing that “[i]f the parties are unable to

       agree to the number of hours and the rate of reimbursement for [plaintiff’s wife’s]
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       provision of attendant care to Plaintiff, the parties may request further hearing

       before the Industrial Commission pursuant to Rule 614 of the Workers’

       Compensation Rules.”     The Commission granted plaintiff’s claim for discovery

       sanctions.

¶ 21         On 23 February 2021, plaintiff filed notice of appeal, limiting the appeal to the

       issue of denial of the compensability of plaintiff’s TBI. On 1 March 2021, defendants

       cross-appealed.

                                         II.    Discussion

¶ 22         Both parties have appealed the Commission’s order, with each appeal

       addressing separate issues. Plaintiff contends the Commission applied the incorrect

       legal standard in denying that plaintiff’s TBI was compensable. Defendants contend

       the Commission erred in allowing plaintiff to seek a new hearing on his claim for

       retroactive care benefits and abused its discretion by entering discovery sanctions.

       We address each issue in turn.

                                    A.     Standard of Review

¶ 23         “[O]n appeal from an award of the Industrial Commission, review is limited to

       consideration of whether competent evidence supports the Commission’s findings of

       fact and whether the findings support the Commission’s conclusions of law.”

       Richardson v. Maxim Healthcare/Allegis Grp., 362 N.C. 657, 660, 669 S.E.2d 582,

       584 (2008) (citation omitted). “This court’s duty goes no further than to determine
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       whether the record contains any evidence tending to support the finding.”            Id.
       (citation and quotation marks omitted). “Even where there is evidence to support

       contrary findings, the Commission’s findings of fact are conclusive on appeal if

       supported by any competent evidence.” Snead v. Carolina Pre-Cast Concrete, Inc.,

       129 N.C. App. 331, 335, 499 S.E.2d 470, 472 (1998) (citation omitted).          If the

       Commission’s findings “are predicated on an erroneous view of the law or a

       misapplication of the law, they are not conclusive on appeal.” Simon v. Triangle

       Materials, Inc., 106 N.C. App. 39, 41, 415 S.E.2d 105, 106 (1992) (citation omitted).

¶ 24         “The Commission’s conclusions of law, however, are reviewable de novo.”

       Snead, 129 N.C. App. at 335, 499 S.E.2d at 472 (citation omitted). The Commission’s

       designation of various points as a “Finding of Fact” or “Conclusion of Law” are not

       conclusive; “[w]hether a statement is an ultimate fact or a conclusion of law depends

       upon whether it is reached by natural reasoning or by an application of fixed rules of

       law.” Brown v. Charlotte-Mecklenburg Bd. of Ed., 269 N.C. 667, 670, 153 S.E.2d 335,

       338 (1967) (citation and quotation marks omitted).

¶ 25         “The decision to receive additional evidence is within the sound discretion of

       the Commission, and will not be reversed on appeal unless the Commission

       manifestly abuses its discretion.” Pittman v. Int’l Paper Co., 132 N.C. App. 151, 155,

       510 S.E.2d 705, 708 (citation omitted), aff’d, 351 N.C. 42, 519 S.E.2d 524 (1999).

¶ 26         Our Supreme Court “has repeatedly held that our Workers’ Compensation Act
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       should be liberally construed to effectuate its purpose to provide compensation for

       injured employees or their dependents, and its benefits should not be denied by a

       technical, narrow, and strict construction.” Adams v. AVX Corp., 349 N.C. 676, 680,

       509 S.E.2d 411, 413 (1998) (quotation marks omitted) (quoting Hollman v. City of

       Raleigh, 273 N.C. 240, 252, 159 S.E.2d 874, 882 (1968)).

                                  B.     Compensability of Injury

¶ 27         Plaintiff argues the Commission erred in denying that he was entitled to

       compensation for his TBI. We agree.

¶ 28         N.C. Gen. Stat. § 97-82(b) provides that “[a]n employee may request a hearing

       pursuant to G.S. 97-84 to prove that an injury or condition is causally related to the

       compensable injury.” N.C. Gen. Stat. § 97-82(b) (2021). “Under the North Carolina

       Workers’ Compensation Act, an employee seeking benefits ‘bears the burden of

       proving every element of compensability.’ ” Rogers v. Smoky Mountain Petroleum

       Co., 172 N.C. App. 521, 524, 617 S.E.2d 292, 295 (2005) (citation omitted). “The

       degree of proof required of a claimant is the ‘greater weight’ or the preponderance of

       the evidence.” Id. (citation omitted).

¶ 29         If a case concerns “complicated medical questions far removed from the

       ordinary experience and knowledge of laymen, only an expert can give competent

       opinion evidence as to the cause of the injury.” Holley v. ACTS, Inc., 357 N.C. 228,

       232, 581 S.E.2d 750, 753 (2003) (citation and quotation marks omitted). “However,
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       when such expert opinion testimony is based merely upon speculation and conjecture,

       it can be of no more value than that of a layman’s opinion. As such, it is not

       sufficiently reliable to qualify as competent evidence on issues of medical causation.”

       Young v. Hickory Bus. Furn., 353 N.C. 227, 230, 538 S.E.2d 912, 915 (2000). The

       evidence must “take the case out of the realm of conjecture and remote possibility,”

       which requires “sufficient competent evidence tending to show a proximate causal

       relation.” Holley, 357 N.C. at 232, 581 S.E.2d at 753 (citation omitted).

¶ 30         Expert testimony “as to the possible cause of a medical condition is admissible

       if helpful to the jury,” but it may be insufficient to prove causation, particularly “when

       there is additional evidence or testimony showing the expert’s opinion to be a guess

       or mere speculation[.]” Id. at 233, 581 S.E.2d at 753 (citations and quotation marks

       omitted). “[I]t appears that our Supreme Court has created a spectrum by which to

       determine whether expert testimony is sufficient to establish causation in worker’s

       compensation cases.” Cannon v. Goodyear Tire &amp; Rubber Co., 171 N.C. App. 254,

       264, 614 S.E.2d 440, 446 (2005). While expert testimony that a work-related injury

       “could” or “might” have caused further injury is insufficient to prove causation, expert

       testimony establishing that a work-related injury “likely” caused further injury is

       “competent evidence” to support a finding of causation. Id., 614 S.E.2d at 446-47
       (citations omitted).

¶ 31         “This court has repeatedly held that a doctor is not required to testify to a
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       reasonable degree of medical certainty.” Erickson v. Siegler, 195 N.C. App. 513, 524,

       672 S.E.2d 772, 780 (2009) (citations omitted). “All that is required is that it is ‘likely’

       that the workplace accident caused plaintiff's injury.” Id. (citations omitted).

¶ 32          In Rawls v. Yellow Roadway Corp., the defendants challenged the

       Commission’s finding with respect to a doctor’s diagnosis of the plaintiff’s injuries.

       Rawls v. Yellow Roadway Corp., 219 N.C. App. 191, 197, 723 S.E.2d 573, 578 (2012).

       This Court disagreed, holding that the doctor’s opinion, as stated in his report, was

       sufficient evidence to support the Commission’s finding. Id. (“[T]he language of the

       Commission’s finding of fact 36 closely mirrors the language of Dr. Tegeler’s report.

       Accordingly, we conclude that finding of fact 36 was supported by sufficient

       evidence.”).

¶ 33          In this case, the Commission determined that plaintiff “presented no expert

       medical opinion evidence causally linking the 24 July 2018 incident with Plaintiff’s

       traumatic brain injury.” The Commission found that Dr. Regan was the only medical

       expert deposed “and he was neither asked for, nor independently offered any opinion

       as to the causation of Plaintiff’s TBI,” and that “[w]hile Dr. Goetz wrote a letter to the

       Commission indicating that the TBI was related to the 24 July 2018 incident, he did

       not offer an opinion to a reasonable degree of medical certainty, and was not deposed

       by the parties.”

¶ 34          Based on these findings, it appears the Commission required plaintiff to
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       present expert testimony, either at a hearing or deposition, to a reasonable degree of

       medical certainty, that his TBI was causally related to the accident. This is not the

       standard required by this Court.      In order to establish causation, plaintiff was

       required to present expert opinion evidence, not necessarily in the form of testimony,

       that it was likely that the accident caused plaintiff’s injury. As this Court held in

       Rawls, documentary evidence may be sufficient to support the Commission’s finding

       with respect to causation. Although Dr. Goetz was not deposed and did not testify,

       his letter stated that plaintiff “has incomplete . . . tetraplegia due to a 25 foot fall

       through an attic . . . . He has also incurred a traumatic brain injury with loss of

       consciousness and approximately 2 days of post-traumatic amnesia.” Dr. Goetz’s

       letter was not speculative or guesswork, and constituted sufficient evidence to

       establish causation by a preponderance of the evidence.         Notably, although the

       Commission determined that Dr. Goetz’s letter was insufficient to causally link

       plaintiff’s accident to his TBI, the Commission did consider Dr. Goetz’s letter as

       evidence, citing the letter to support the conclusion that plaintiff was in need of

       attendant care.

¶ 35         We hold the Commission erred in denying plaintiff compensation for his TBI.

       Accordingly, we reverse the Commission’s Opinion and Award with respect to the

       compensability of plaintiff’s TBI and remand to the Commission to make findings and

       conclusions applying the correct standards of proof.
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                     C.    New Hearing on Claim for Attendant Care Benefits

¶ 36         Defendants contend the Commission abused its discretion in allowing plaintiff

       to request another hearing under Workers’ Compensation Rule 614. Defendants

       describe this not as a fee dispute, but as a missed opportunity by plaintiff to present

       evidence of attendant care valuation. Plaintiff, however, contends the Commission

       resolved the compensability question in plaintiff’s favor and ordered the parties to

       attempt to reach an agreement on the reimbursement rate issue.

¶ 37         Under the Workers’ Compensation Act, medical compensation may include

       “attendant care services prescribed by a health care provider authorized by the

       employer or subsequently by the Commission” to the extent that the services are

       reasonably necessary to effect a cure, provide relief, or lessen the period of disability.

       N.C. Gen. Stat. § 97-2(19) (2021). “The term ‘health care provider’ means physician,

       hospital, pharmacy, chiropractor, nurse, dentist, podiatrist, physical therapist,

       rehabilitation specialist, psychologist, and any other person providing medical care

       pursuant to this Article.” N.C. Gen. Stat. § 97-2(20) (emphasis added).

¶ 38         Our Courts have “authorized payment to family members for attendant care

       provided to an injured family member.” London v. Snak Time Catering, Inc., 136

       N.C. App. 473, 480, 525 S.E.2d 203, 208 (2000) (citing Godwin v. Swift &amp; Co., 270

       N.C. 690, 155 S.E.2d 157 (1967)). When determining the appropriate rate for

       attendant care provider fees, the Commission must consider factors including the
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       provider’s expertise, the type of services rendered, and actual wages earned by an

       equivalent attendant care provider. See Levens v. Guilford Cty. Schs., 152 N.C. App.

       390, 399, 567 S.E.2d 767, 773 (2002) (considering evidence of attendant care services

       provided by plaintiff’s family members).

¶ 39         Pursuant to Workers’ Compensation Rule 614, if a health care provider fee

       dispute cannot be resolved, the health care provider “shall file a motion to intervene

       with the Commission.” 11 N.C. Admin. Code 23A.0614(f). In accordance with N.C.

       Gen. Stat. § 97-90.1, “when a health care provider is allowed to intervene by the

       Commission, the intervention is limited to the medical fee dispute.” 11 N.C. Admin.

       Code 23A.0614(k). “Discovery by a health care provider shall be allowed following a

       Commission order allowing intervention but is limited to matters related to the

       medical fee dispute.” 11 N.C. Admin. Code 23A.0614(m).

¶ 40         In this case, the Commission received competent evidence that plaintiff

       required attendant care and made findings of fact and conclusions of law based on

       that evidence. The issue of the rate of compensation, however, was not resolved and

       remained in dispute. Accordingly, pursuant to Workers’ Compensation Rule 614,

       plaintiff’s wife was permitted to file a motion to intervene with the Commission. Rule

       614 further provides that if the Commission grants a motion to intervene, discovery

       shall be allowed, limited to matters related to the medical fee dispute.

¶ 41         Defendants’ contentions that the Commission erred in allowing plaintiff to
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       seek a new hearing are founded in a misapprehension of the Workers’ Compensation

       Rules and a misunderstanding of the Commission’s Opinion and Award. Although it

       does not appear from our review of the record that plaintiff’s wife has yet filed a

       motion to intervene, the Workers’ Compensation Rules provide for further discovery

       and proceedings in these circumstances. We hold that the Commission did not abuse

       its discretion in permitting the parties to request further hearing pursuant to Rule

       614.

                                     D.     Discovery Sanctions

¶ 42          Defendants argue the Commission erred in imposing sanctions for failing to

       produce audio recordings in discovery. We disagree.

¶ 43          Workers’ Compensation Rule 605 permits litigants to conduct written

       discovery. 11 N.C. Admin. Code 23A.0605. The Workers’ Compensation discovery

       rules “should be liberally construed in order to accomplish the important goal” of

       facilitating pre-trial disclosure “of any unprivileged information that is relevant and

       material to the lawsuit so as to permit the narrowing and sharpening of the basic

       issues and facts that will require trial.” Williams v. N.C. Dep’t of Correction, 120 N.C.

       App. 356, 359, 462 S.E.2d 545, 547 (1995) (citation and quotation marks omitted).

       “The administration of these rules, in particular the imposition of sanctions, is within

       the broad discretion” of the Commission, and the Commission’s decision “regarding

       sanctions will only be overturned on appeal upon showing an abuse of that
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       discretion.” Id. (citations omitted).

¶ 44         Rule 605(9) provides that sanctions “shall be imposed under this Rule for

       failure to comply with a Commission order compelling discovery unless the

       Commission excuses the failure based on an inability to comply with the order.” 11

       N.C. Admin. Code 23A.0605(9).

¶ 45         Defendants argue the Commission erred in entering sanctions against them

       because plaintiff “did not need to use the rules of discovery” because he already had

       the recordings at issue in his possession; defendants also describe plaintiff’s

       argument as “textbook gamesmanship.” Defendants acknowledge that they did not

       produce the recordings, instead arguing they were not required to produce them.

       Defendants’ argument, however, completely ignores the Workers’ Compensation

       Rules and procedural history of this case.

¶ 46         When Deputy Commissioner Moore granted plaintiff’s Motion to Compel, the

       corresponding order required defendants to fully respond to plaintiff’s discovery

       requests.   The Commission noted that plaintiff’s Interrogatories 8(d) and 8(e)

       requested “detail regarding training courses and ratings or evaluations” provided to

       plaintiff. The order was clear about what defendants were required to produce, and

       pursuant to Rule 605(9), sanctions “shall be imposed . . . for failure to comply with a

       Commission order compelling discovery.” Defendants failed to comply with Deputy

       Commissioner Moore’s order, and accordingly the Commission did not err in
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       sanctioning defendants.

                                        III.       Conclusion

¶ 47         For the foregoing reasons, we hold that the Commission applied the wrong

       legal standard in reviewing the medical evidence presented related to plaintiff’s TBI

       and therefore erred in determining that plaintiff’s TBI was not compensable. Thus,

       we reverse and remand with respect to that portion of the Commission’s Opinion and

       Award. We affirm the Commission with respect to attendant care benefits and the

       imposition of discovery sanctions.

             REVERSED AND REMANDED IN PART, AFFIRMED IN PART.

             Judges HAMPSON and CARPENTER concur.
